       Case: 22-15961, 02/07/2025, ID: 12921236, DktEntry: 146, Page 1 of 3


                                  No. 22-15961


           UNITED STATES COURT OF APPEALS
               FOR THE NINTH CIRCUIT
                           ______________________
                            DONALD J. TRUMP, et al.,
                                                       Plaintiffs-Appellants,
                                        v.
                        TWITTER, INC. AND JACK DORSEY,
                                                  Defendants-Appellees.
                           ______________________
               On Appeal from the United States District Court for
      the Northern District of California, No. 3:21-cv-08378-JD (Donato, J.)
                            ______________________

     STIPULATED MOTION TO VOLUNTARILY DISMISS APPEAL


JOHN P. COALE                                ARI HOLTZBLATT
2901 Fessenden Street NW                     WILMER CUTLER PICKERING
Washington, DC 20008                            HALE AND DORR LLP
(212) 255-2096                               2100 Pennsylvania Avenue NW
johnpcoale@aol.com                           Washington, DC 20037
Counsel for Appellants American              (202) 663-6000
Conservative Union, Rafael Barbosa,          ari.holtzblatt@wilmerhale.com
Linda Cuadros, Dominick Latella, Wayne       Counsel for Appellees Twitter, Inc.
Allyn Root, and Donald J. Trump              (now X Corp.) and Jack Dorsey

                                             SCOTT STREET
                                             JW HOWARD/ATTORNEYS, LTD.
                                             201 South Lake Avenue, Suite 303
                                             Pasadena, CA 91101
                                             (213) 205-2800
February 7, 2025                             sstreet@jwhowardattorneys.com
                                             Counsel for Appellant Naomi Wolf
        Case: 22-15961, 02/07/2025, ID: 12921236, DktEntry: 146, Page 2 of 3




      Pursuant to Federal Rule of Appellate Procedure 42(b)(1), all parties hereby

move the Court for an order dismissing the above-captioned appeal. The parties

have agreed that each side shall bear its own costs and fees on appeal.



/s/ Ari Holtzblatt        /s/ John P. Coale               /s/ Scott Street

Ari Holtzblatt            John P. Coale                   Scott Street

Counsel for Appellees     Counsel for Appellants          Counsel for Appellant
Twitter, Inc.             American Conservative           Naomi Wolf
(now X Corp.)             Union, Rafael Barbosa,
and Jack Dorsey           Linda Cuadros, Dominick
                          Latella, Wayne Allyn
                          Root, and Donald J. Trump
        Case: 22-15961, 02/07/2025, ID: 12921236, DktEntry: 146, Page 3 of 3




                         SIGNATURE ATTESTATION

     Pursuant to Circuit Rule 25-5(e), I attest that concurrence in the filing of the
document has been obtained from each of the other signatories above.

                                       /s/ Ari Holtzblatt
                                           Ari Holtzblatt
